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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                            CASE NO. 1:05-cr-00018-MP-AK

ISREAL TRAVIS BISHOP,

      Defendant.
___________________________/

                                          ORDER

       This matter is before the Court on Doc. 109, Motion to Continue Sentencing by Isreal

Travis Bishop, which the government does not oppose. The motion is granted and the

sentencing is hereby reset for February 22, 2007, at 10:30 a.m.


       DONE AND ORDERED this 26th day of January, 2007


                                      s/Maurice M. Paul
                                 Maurice M. Paul, Senior District Judge
